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                 N THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                        CASE NO.: 1:11-CR-22-SPM/GRJ-2

DANIEL JOSEPH COSTA,

           Defendant.
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                        ACCEPTANCE OF GUILTY PLEA

      PURSUANT TO the Report and Recommendation (doc. 56) of the United

States Magistrate Judge, to which there have been no timely objections, and

subject to the Court’s consideration of any Plea Agreement pursuant to Federal

Rule of Criminal Procedure 11, the plea of guilty of the Defendant, DANIEL

JOSEPH COSTA, to Count Two of the indictment is hereby ACCEPTED. All

parties shall appear before this Court for sentencing as directed.

      DONE AND ORDERED this 1st day of September, 2011.

                                         S/ Stephan P. Mickle
                                         Stephan P. Mickle
                                         Senior United States District Judge
